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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                                 ASHLAND DIVISION
                           CIVIL ACTION NO. 0:17-108-HRW
                                  Filed Electronically


In re: Oak Street, Zimmerman Hill, Olive Hill, Kentucky 41164

UNITED STATES OF AMERICA                                                   PLAINTIFF

VS.

KATHY JO ERWIN;
UNKNOWN SPOUSE OF KATHY JO ERWIN: and
FEDERATION OF APPALACHIAN
HOUSING ENTERPRISES. INC.                                                  DEFENDANTS

                                   ENTRY OF DEFACLT
                                       *********

        It appearing that the complaint herein \\as filed on October -L 2017: the Defendant.
Federation of Appalachian Housing Enterprises. Inc. has been served by summons: Defendants.
Kathy Jo Erwin and the Unknown Spouse of Kathy Jo Erwin. have been served \ ia appointment
of Warning Order Attorney. and that no answer or other pleading has been filed by said defendants
as required by law:

      NOW, THEREFORE, upon request of Plaintiff, default is hereby entered against the
Defendants, Kathy Jo Erwin, Unknown Spouse of Kathy Jo Erwin, and Federation of Appalachian
Housing Enterprises, Inc., as provided in Rule 55(a), Federal Rules of Civil Procedure.

       This the >!,.,day of_~,·._.·_'__ 2018.

                                                     ROBERT C. CARR
                                                     U.S. DISTRICT COURT CLERK
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                                                            Deputy Clerk
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